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UNITED STATES DISTRICT COURT Cte Sere District Court
SOUTHERN DISTRICT OF TEXAS FILED
HOUSTON DIVISION JAN 23 2014
UNITED STATES OF AMERICA §
5 Dove Bratiey, Cork of Cour
v. § CRIMINAL NO.
§
CONRAD ALVIN BARRETT § ] 4 CR 0 4 3
INDICTMENT
COUNT ONE

(Title 18, U.S.C., Section 249)
On or about November 24, 2013, in the Southern District of Texas, defendant
CONRAD ALVIN BARRETT
willfully caused bodily injury to R.C. because of R.C.’s actual and perceived race and color.
In violation of Title 18, United States Code, Section 249 (a) (1).

A TRUE BILL:

Original Signature on File
FOREPERSON OF THE GRAND JURY

KENNETH MAGIDSON
United States Attorney

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By: é L

By:

 

 

Jog Magliolo SO
Assistant United States Attorney

JOCELYN SAMUELS
Acting Assistant Attorney General
Civil Rights Division

Department of Justice

   
